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IN THE SUPREME COURT OF THE STATE OF HAWAI'I

 

OFFICE OF DISCIPLINARY COUNSEL,
Petitioner,

VS.

KATHERINE PUANA KEALOHA (HI Bar #6691),
Respondent.

 

ORIGINAL PROCEEDING
(ODC Case No. 17-0-026)

ORDER GRANTING PETITION

 

Upon consideration of the July 1, 2019 petition for the
immediate restraint of the license to practice law in this
jurisdiction held by Respondent Katherine .Puana Kealoha, filed by
the Office of Disciplinary Counsel (ODC) pursuant to Rule 2.13 of
the Rules of the Supreme Court of the State of Hawai‘i (RSCH),
this court notes the exhibits attached to the petition include
the findings of guilt entered by the jury in United States of

America v. Katherine P. Kealoha, Criminal No. 17-CR-00582-JMS-WRP

 

(D. Haw.) and the indictment, which clearly establishes the

crimes of which Respondent Kealoha was convicted involved
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dishonesty, and further notes that at least three of the counts
of which Respondent Kealoha was convicted constitute felonies.
Therefore,

IT IS HEREBY ORDERED that ODC’s petition is granted.

IT IS FURTHER ORDERED that Respondent Kealoha is
immediately restrained from the practice of law in this
jurisdiction, pursuant to RSCH Rule 2.13(b), pending final
disposition of a disciplinary proceeding based on the findings of
guilt.

TT IS FINALLY ORDERED that this matter is hereby
referred to the Disciplinary Board of the Hawaii Supreme Court
for institution of formal disciplinary proceedings, to be
convened once these convictions become final, as defined in RSCH
Rule 2.13(d). The sole issue to be determined at those hearings
shall be the discipline to be imposed.

DATED: Honolulu, Hawai‘i, July 3, 2019.

/s/ Mark E. Recktenwald
/s/ Sabrina S. McKenna
/s/ Richard W. Pollack

/s/ Michael D. Wilson

 

/s/ Lisa M. Ginoza
